                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION, AT GREENVILLE


 LENA C. WILLETT                                         )
                                                         )
                    Plaintiff,                           ) No. 2:08-cv-00194
                                                         ) JURY TRIAL DEMANDED
 vs.                                                     )
                                                         )
 CAPITAL MANAGEMENT SERVICES, LP and                     )
 JOHN DOE                                                )
                                                         )
                    Defendant.                           )


                                  STIPULATION OF DISMISSAL


          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to this lawsuit

 hereby stipulate that it is dismissed with prejudice, with each party to bear its own costs.

          This 4th day of November, 2008.

                                                       Respectfully submitted,



                                                       s/Alan C. Lee
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                                                       s/Chad D. Graddy
                                                       CHAD GRADDY (BPR 023196)
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                                                       Counsel for Defendant
                                                       Capital Management Services, LP




                                  CERTIFICATE OF SERVICE

         I hereby certify that on this the 4th day of November, 2008, a copy of the foregoing
 document was filed electronically. Notice of this filing will be sent by operation of the Court's
 electronic filing system to all parties indicated on the electronic filing receipt. All other parties
 will be served by regular U.S. Mail. Parties may access this filing through the Court's electronic
 filing system.

                                                       _s/ Chad D. Graddy____________________




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